Case 2:25-cv-00337-JLB-NPM                 Document 21     Filed 06/23/25     Page 1 of 4 PageID 263




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

 -----------------------------------------------------
 RICHARD LUTHMANN,                                        Case No. 2:25-cv-337-JLB-NPM

                                     Plaintiff,           PLAINTIFF’S DISCLOSURE
          v.                                              STATEMENT PURSUANT
                                                          TO LOCAL RULE 3.03
 DANESH NOSHIRVAN aka DANESH
 JON NOSHRIVAN aka THAT DANESH
 GUY aka SCOTUS DOXXER DANESH
 NOSHIRVAN aka CANCEL CULTURE
 KILLER DANESH NOSHIRVAN aka
 #CHEESEDANESH, aka ERICA
 SABONIS,

                                     Defendant.
 -----------------------------------------------------

                           PLAINTIFF’S DISCLOSURE STATEMENT
         UNDER RULE 7.1, FEDERAL RULES OF CIVIL PROCEDURE, AND LOCAL RULE 3.03


 1.       Is the filer a non-governmental corporate party or non-governmental corporation moving
          to intervene?

          ☒        No.

          ☐        Yes, and

                   ☐        These parent corporations and publicly held corporations
                            own 10% or more of the filer’s shares: [].

                   ☐        The filer has no parent corporation.

                   ☐        No publicly held corporation owns 10% or more of the filer’s
                            shares.


 2.       Is the court’s jurisdiction based on either 28 U.S.C. § 1332(a) or 28 U.S.C. § 1332(d)?

          ☐        No.
Case 2:25-cv-00337-JLB-NPM         Document 21       Filed 06/23/25       Page 2 of 4 PageID 264




       ☒     Yes, and this is the name and citizenship of each person or entity whose
             citizenship is attributed to the filer: Richard Luthmann (State of Florida –
             residence and domicile).


       a.    Is the court’s jurisdiction based on 28 U.S.C. § 1332(a) and the filer a
             limited liability company or other unincorporated entity?

             ☒       No.

             ☐       Yes, and the filer has identified each member and the
                     citizenship of each member and, if a member is another
                     unincorporated entity, each member of that entity and that
                     member’s citizenship, and so on.


       b.    Is the court’s jurisdiction based on 28 U.S.C. § 1332(d) and the filer a
             limited liability company or other unincorporated entity?

             ☒       No.

             ☐       Yes, and the filer has identified citizenship in accord with 28
                     U.S.C. § 1332(d)(10).


       c.    Is the filer an insurer?

             ☒       No.

             ☐       Yes, and the filer has identified citizenship in accord with
                     § 1332(c)(1).


       d.    Is the filer a legal representative?

             ☒       No.

             ☐       Yes, and the filer has identified citizenship in accord with 28
                     U.S.C. § 1332(c)(2).


       e.    Has the filer identified any corporation?

             ☒       No.



                                                2
Case 2:25-cv-00337-JLB-NPM          Document 21       Filed 06/23/25     Page 3 of 4 PageID 265




              ☐       Yes, and for each, the filer has identified citizenship in
                      accord with 28 U.S.C. § 1332(c)(1).


       f.     Has the filer identified any natural person?

              ☐       No.

              ☒       Yes, and for each, the filer has identified citizenship in
                      accord with the person’s domicile, which does not
                      necessarily correspond to the person’s residence.

       Richard Luthmann (State of Florida – residence and domicile).


 3.    Is there any other person or entity that has or might have an interest in the outcome of the
       action, including any interested or potentially interested lawyer, association, firm,
       partnership, corporation, limited liability company, subsidiary, conglomerate, affiliate,
       member, and other identifiable and related legal entity?

       ☒      No.

       ☐      Yes. These additional persons and entities have or might have an interest in
              the outcome of the action: []


 4.    Might the outcome of this action affect any entity, not yet identified, with publicly traded
       shares or debt?

       ☒      No.

       ☐      Yes, and this is the entity: [].




                                                 3
Case 2:25-cv-00337-JLB-NPM             Document 21         Filed 06/23/25     Page 4 of 4 PageID 266




 5.     Is this a bankruptcy action?

        ☒       No.

        ☐       Yes, and the debtor is [].

        ☐       Yes, and the members of the creditors’ committee are [].


 6.     Is this a criminal case?

        ☒       No.

        ☐       Yes, and these persons are arguably eligible for restitution: [].


 7.     Is there an additional entity likely to actively participate in this action?

        ☒       No.

        ☐       Yes, and this is the entity: [].


 8.     Does the filer certify that, except as disclosed, the filer is unaware of an actual or potential
        conflict of interest affecting the district judge or the magistrate judge in this action, and the
        filer will immediately notify the judge in writing within fourteen days after the filer knows
        of a conflict?

        ☒       Yes. See the attached Conflict of Law with Magistrate Judge and ECF #8: Non-
                Consent to Magistrate Jurisdiction and Request for Article III District Judge.


 Dated: June 20, 2025                              Respectfully submitted,




                                                   __________________________
                                                   Richard Luthmann
                                                   Plaintiff, Pro Se
                                                   4199 Los Altos Court
                                                   Naples, FL 34109
                                                   (239) 631-5957
                                                   richard.luthmann@protonmail.com



                                                     4
